                 Case 2:20-cv-00633-MJP Document 17 Filed 10/20/20 Page 1 of 4



1                                                                    The Honorable Marsha J. Pechman
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6                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
7                                        AT SEATTLE

8
     COLTON WILLIAMS,
9
                                                           No. 2:20-cv-00633
                              Plaintiff,
10
            v.                                             STIPULATED MOTION AND
                                                           ORDER TO EXTEND DEADLINE
11
     THE BOEING COMPANY,                                   FOR DISCLOSURE OF EXPERT
                                                           TESTIMONY
12
                              Defendant.
                                                           NOTED FOR HEARING:
13
                                                           October 19, 2020
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            I.       STIPULATION AND MOTION
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            The parties, through their counsel of record, hereby stipulate and agree to extend the
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     deadline to disclose expert testimony under FRCP 26(a)(2) from October 19, 2020 to December
17
     11, 2020. The parties respectfully move the court for an order extending this deadline to
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     December 11, 2020. The parties have been working together through the discovery process and
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     remain uncertain regarding the need to retain experts. Additional time will allow the parties to
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     make this determination while avoiding unnecessary case costs. The change in this particular
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     deadline will not affect the case schedule with regard to any necessary court fillings or other
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     deadlines. The additional time will also allow the parties to explore the potential of early
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     settlement.
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      STIPULATED MOTION AND                                                   EMERY | REDDY, PLLC
      ORDER TO EXTEND DEADLINE                    PAGE 1 OF 4                600 Stewart Street, Suite 1100
      FOR DISCLOSURE OF EXPERT                                                    Seattle, WA 98101
      TESTIMONY - 2:20-cv-00633                                             PHONE: (206) 442-9106 • FAX:
                                                                                    (206) 441-9711
            Case 2:20-cv-00633-MJP Document 17 Filed 10/20/20 Page 2 of 4



1          DATED this 19th day of October, 2020.
2
     EMERY | REDDY, PLLC                           EMERY | REDDY, PLLC
3

4
     /s/ Patrick B. Reddy                          /s/ Timothy W. Emery
5
     PATRICK B. REDDY                              TIMOTHY W. EMERY
     WSBA No. 34092                                WSBA No. 34078
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     Phone: (206) 442-9106                         Phone: (206) 442-9106
8    Fax: (206) 441-9711                           Fax: (206) 441-9711
     Email: reddyp@emeryreddy.com                  Email: emeryt@emeryreddy.com
9    Attorney for Plaintiff Colton Williams        Attorney for Plaintiff Colton Williams
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     EMERY | REDDY, PLLC                           THE BOEING COMPANY
11

12
     /s/ Amanda V. Masters                         /s/ Julie S. Lucht
13   AMANDA MASTERS                                JULIE S. LUCHT
     WSBA No. 46342                                WSBA No. 31278
14   EMERY | REDDY, PLLC                           PERKINS COIE LLP
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15   Seattle, WA 98101                             Seattle, WA 98101
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16   Fax: (206) 441-9711                           Fax: (206) 359-9000
     Email: amanda@emeryreddy.com                  Email: jlucht@perkinscoie.com
17
     Attorney for Plaintiff Colton Williams        Attorney for Defendant
18                                                 The Boeing Company

19   THE BOEING COMPANY

20   /s/ Lindsay McAleer
     LINDSAY MCALEER
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     PERKINS COIE LLP
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     Phone: (206) 359-8000
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     Fax: (206) 359-9000
     Email: lmcaleer@perkinscoie.com
25   Attorney for Defendant
     The Boeing Company
     STIPULATED MOTION AND                                              EMERY | REDDY, PLLC
     ORDER TO EXTEND DEADLINE                 PAGE 2 OF 4              600 Stewart Street, Suite 1100
     FOR DISCLOSURE OF EXPERT                                               Seattle, WA 98101
     TESTIMONY - 2:20-cv-00633                                        PHONE: (206) 442-9106 • FAX:
                                                                              (206) 441-9711
              Case 2:20-cv-00633-MJP Document 17 Filed 10/20/20 Page 3 of 4



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2                                                II.    ORDER
3            This matter coming on for hearing by the jointly submitted above stipulation, and the
4    Court having considered the parties request, it is hereby GRANTED. The deadline to disclose
5    expert testimony under FRCP 26(a)(2) is hereby extend from October 19, 2020 to December 11,
6    2020.
7

8            Date: October 20, 2020
9

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11
                                                         A
                                                         Marsha J. Pechman
                                                         United States District Judge
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      STIPULATED MOTION AND                                                 EMERY | REDDY, PLLC
      ORDER TO EXTEND DEADLINE                   PAGE 3 OF 4               600 Stewart Street, Suite 1100
      FOR DISCLOSURE OF EXPERT                                                  Seattle, WA 98101
      TESTIMONY - 2:20-cv-00633                                           PHONE: (206) 442-9106 • FAX:
                                                                                  (206) 441-9711
             Case 2:20-cv-00633-MJP Document 17 Filed 10/20/20 Page 4 of 4



1                                   CERTIFICATE OF SERVICE
2            I hereby certify that on October 19, 2020, I caused to be electronically filed the
     foregoing document with the Clerk of the Court using the CM/ECF system which will send
3
     notification of such filling to the following CM/ECF participants:
4
            Julie S. Lucht
5           E-mail: jlucht@perkinscoie.com

6           Lindsay McAleer
            E-mail: lmcaleer@perkinscoie.com
7

8

9
                                                        /s/ Jennifer Chong
                                                        Jennifer Chong, Legal Assistant
10

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      STIPULATED MOTION AND                                               EMERY | REDDY, PLLC
      PROPOSED ORDER TO EXTEND                  PAGE 4 OF 4              600 Stewart Street, Suite 1100
      DEADLINE FOR DISCLOSURE                                                 Seattle, WA 98101
      OF EXPERT TESTIMONY - 2:20-                                       PHONE: (206) 442-9106 • FAX:
      cv-00633                                                                  (206) 441-9711
